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 1                           UNITED STATES DISTRICT COURT
 2                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
 4         UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW
 5         Plaintiff,
 6         v.                                            [PROPOSED] ORDER
 7         ALEXANDER SMIRNOV,
 8         Defendant.
 9
10
11         Upon Consideration of the Government’s Third Motion in Limine to Exclude
12   Impermissible “Specific Instances of Conduct” Evidence, and the Defendant’s Response
13   thereto, the Court grants the Motion and orders that the defendant is precluded from
14   introducing evidence, argument, or questioning at trial regarding specific instances of
15   conduct to prove his purported character for “truthfulness,” “honesty,” “helpfulness,” or
16   “reliability.” These matters are not admissible under Federal Rule of Evidence 405(b)
17   because the defendant’s character is not an “essential element” of the charges or defenses
18   to either of the defendant’s charges for violations of 18 U.S.C. §§ 1001 and 1519.
19   Therefore, evidence of specific instances of conduct is prohibited “to prove that on a
20   particular occasion the person acted in accordance with the character or trait,” Fed. R.
21   Evid. 404(a)(1), and, for the reasons discussed in the Government’s Motion, this Court
22   agrees with other courts that have routinely excluded such matters from being raised
23   before the jury.
24         Dated: ________________                SO ORDERED
25
26                                                ____________________________
27                                                The Honorable Otis D. Wright, III
28                                                United States District Judge
